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 8                          UNITED STATES DISTRICT COURT

 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                WESTERN DIVISION

11   UNITED STATES OF AMERICA,              NO. CV 19-9772-CAS
12             Plaintiff,                   [PROPOSED]
13                                          CONSENT JUDGMENT OF FORFEITURE
                   v.
14   $60,654.00 IN U.S. CURRENCY,
15             Defendant.
16

17        Plaintiff, the United States of America (“the government or
18   Plaintiff”), and claimant Van Le (“Claimant”) have made a
19   stipulated request for the entry of this Consent Judgment.
20        The Court, having considered the stipulation of the parties,
21   and good cause appearing therefor, HEREBY ORDERS, ADJUDGES AND
22   DECREES:
23        1.     The government has given and published notice of this
24   action as required by law, including Rule G of the Supplemental
25   Rules for Admiralty or Maritime Claims and Asset Forfeiture
26   Actions, Federal Rules of Civil Procedure, and the Local Rules of
27   this Court.    Claimant has filed a claim and an answer.         The

28   government has not received any other claims or answers, and the
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 1   time for filing claims and answers has expired.         This Court has
 2   jurisdiction over the parties and the Defendant $60,654.00 in U.S.
 3   currency (the “Defendant Currency”). Claimant has agreed to the
 4   forfeiture of $52,654.00 of the Defendant Currency.          Any potential
 5   claimants to the Defendant Currency other than Claimant are deemed
 6   to have admitted the allegations of the complaint.          Nothing in
 7   this consent judgment is intended or should be interpreted as an
 8   admission of wrongdoing by Claimant, nor should this consent
 9   judgment be admitted in any criminal proceeding against Claimant
10   to prove any of the facts relied upon to establish reasonable
11   cause for the seizure of the Defendant Currency.
12        1.    $8,000.00 of the Defendant Currency, without interest,
13   shall be released on Claimant’s behalf, in partial satisfaction of
14   student loan obligations Claimant has put before the Court in this
15   action (See ECF No. 16).
16        2.    The government shall make the payment of the $8,000.00 by
17   check, payable to “NelNet,” Claimant’s student loan servicer,
18   account number E881695430, and mailed to NelNet’s designated
19   business mailing address.     Upon request from the government,
20   Claimant shall provide personal identifiers and any additional
21   information necessary to complete the transfer.
22        2.    The remaining $52,654.00 of the Defendant Currency,
23   together with all interest earned by the government on the total

24   amount of Defendant Currency, is hereby forfeited to the

25   government, and no other right, title, or interest shall exist

26   therein.   The government shall dispose of the forfeited property

27   in accordance with law.

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 1        3.   The Court finds that there was reasonable cause for the
 2   seizure of the Defendant Currency and the institution of this
 3   action.   This judgment constitutes a certificate of reasonable
 4   cause pursuant to 28 U.S.C. § 2465.
 5        4.   Each of the parties shall bear its own fees and costs
 6   incurred in connection with this action.
 7        IT IS SO ORDERED.
 8

 9   Dated: April 30, 2020
                                       THE HONORABLE CHRISTINA A. SNYDER
10                                     UNITED STATES DISTRICT JUDGE
11

12   Prepared by:
13

14   NICOLA T. HANNA
     United States Attorney
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     Assistant United States Attorney
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19     /s/
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20   Assistant United States Attorney
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     UNITED STATES OF AMERICA
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